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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


FRANCISCO MUNOZ VALDEZ,


v.                                                Case No. 8:04-cr-549-T-17EAJ
                                                           8:07-cv-595-T-17EAJ

UNITED STATES OF AMERICA.
_____________________________________________

                                         ORDER

       This cause is before the Court on Francisco Munoz Valdez's 28 U.S.C. § 2255

motion to vacate, set aside, or correct an allegedly illegal sentence. (D-CV-1, D-161).1 A

review of the record demonstrates that the motion to vacate must be denied.

                                  Procedural Background

       In November 2004, a grand jury in the Middle District of Florida indicted Francisco

Munoz Valdez and several other men on charges of conspiring to possess five kilograms

or more of cocaine with the intent to distribute it, while on board a vessel subject to the

jurisdiction of the United States, in violation of 46 United States Code App. § 1903(a), (g),

and (j) and 21 United States Code § 960(b)(1)(B)(ii) (Count One), and possessing five

kilograms or more of cocaine with the intent to distribute it, while on board a vessel subject

to the jurisdiction of the United States, in violation of 46 United States Code App. § 1903(a)

and (g), 18 United States Code § 2, and 21 United States Code § 960(b)(1)(B)(ii) (Count

Two). D-1. Valdez pled guilty to both counts without a plea agreement. D-49, 50.

       At sentencing, Valdez argued that this Court should reduce his offense level based


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        References to the criminal case are denoted as "D- and number" and
references to the civil case are denoted as "D-CV and number."
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on his mitigating role in the offenses. D-120 at 6-7. The probation officer explained to this

Court that Valdez had provided the probation officer with no "information, whatsoever, to

substantiate a minor role reduction" even though Valdez "has the burden of proving the

facts to substantiate a minor role reduction." D-120 at 7. Valdez's counsel then argued that

Valdez had not been the load guard or the captain and that he had had no financial interest

in the cocaine. D-120 at 7-8. This Court overruled the objection, finding that Valdez had

been an "average participant;" further elaborating: "The crew members were there hired

to do a job to assist in the transportation of the cocaine from point A to point B. Each of

them played an integral part in the offense necessary for the successful completion of the

conspiracy." D-120 at 8. This Court determined Valdez eligible for the safety valve. Id. at

9; PSR ¶ 22. This Court sentenced Valdez to serve 135 months imprisonment. D-90.

       Valdez directly appealed the conviction and sentence (D-96) raising the following

issues:

       Whether this Court erred in denying Valdez a minor role reduction pursuant
       to USSG § 3B1.2(b); and,

       Whether this Court failed to consider the requisite sentencing factors set forth
       in 18 United States Code § 3553(a).

Valdez's initial brief at 6-8. The Eleventh Circuit affirmed the conviction and sentence.

United States v. Valdez, No. 05-14180, 176 Fed. Appx. 20 (11th Cir. Mar.16, 2006); D- 142.

Valdez did not seek further review.

       Valdez then timely filed the present motion to vacate his sentence pursuant to 28

U.S.C. § 2255 claiming ineffective assistance of counsel prior to the entry of his guilty plea,

at sentencing, and on direct appeal. D-CV-1 at 4-8.



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                                    Factual Background

        In November 2004, a military patrol aircraft in the Pacific Ocean observed a "go fast"

boat traveling at about twenty knots. Presentence Investigation Report (hereinafter “PSR”)

¶ 11. The boat stopped as the aircraft proceeded to intercept it. PSR ¶ 11, 12. The boat's

five crew members began throwing bales of cocaine into the water. PSR ¶ 12. Valdez was

one of the five crew members. PSR ¶¶ 13, 14. Within a few minutes, the go-fast boat

started traveling again. PSR ¶ 12. The aircraft signaled for the go-fast boat to stop, but the

boat did not stop. PSR ¶ 12. Eventually the aircraft fired warning shots in front of the boat's

bow, and the boat stopped. PSR ¶ 12. Coast Guard officers detained the crew members,

none of whom admitted to being the master of the boat. PSR ¶¶ 13, 14. They also

recovered the jettisoned bales of cocaine, which weighed a total of 2627 kilograms. PSR

¶ 14.

                                         Discussion

        Valdez raises under Grounds One through Four, claims that his counsel provided

ineffective assistance. Those claims are cognizable under 28 U.S.C. § 2255. See Lynn v.

United States, 365 F.3d 1225, 1234 n.17 (11th Cir. 2004) (ineffective assistance claims

should be decided in section 2255 proceedings). However, Valdez argues in his motion

under Ground One that his attorney was ineffective in that he failed to “investigate”

Valdez’s eligibility for the safety valve and did not object to other factors that raised his

offense level; and under Ground Four, that counsel failed to “raise,” “argue,” or “investigate”

his “mitigating role.” D-CV-1 at 4, 8. These claims are not cognizable on collateral relief for

the reasons discussed below.

        Most courts of appeals have held that "[b]arring extraordinary circumstances," claims

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of non-constitutional error in the application of the Sentencing Guidelines cannot be raised

in a Section 2255 motion. United States v. Pregent, 190 F.3d 279, 283-84 (4th Cir. 1999);

see Buggs v. United States, 153 F.3d 439, 443 (7th Cir. 1998); Burke v. United States, 152

F.3d 1329, 1331-32 (11th Cir. 1998); United States v. Payne, 99 F.3d 1273, 1281-82 (5th

Cir. 1996); Graziano v. United States, 83 F.3d 587, 589-90 (2d Cir. 1996) (per curiam);

Grant v. United States, 72 F.3d 503, 505-06 (6th Cir. 1996); Auman v. United States, 67

F.3d 157, 160-61 (8th Cir. 1995); United States v. Schlesinger, 49 F.3d 483, 485 (9th Cir.

1994); Knight v. United States, 37 F.3d 769, 773 (1st Cir. 1994). But cf. United States v.

Talk, 158 F.3d 1064, 1069 (10th Cir. 1998) (assuming without deciding that claim of nine-

level Guideline error that would reduce 108-month sentence by more than fifty months is

cognizable).

       Collateral review pursuant to 28 U.S.C. § 2255 is not a substitute for direct appeal.

See Lynn, 365 F.3d at 1232; Burke, 152 F.3d at 1331-32 (citing Sunal v. Large, 332 U.S.

174, 178 (1947)). Nonconstitutional claims can be raised on collateral review only when the

alleged error constitutes a “ ‘fundamental defect which inherently results in a complete

miscarriage of justice [or] an omission inconsistent with the rudimentary demands of fair

procedure.’” Reed v. Farley, 512 U.S. 339, 348 (1994) (quoting Hill v. United States, 368

U.S. 424, 428 (1962)).

       An allegation that a given sentence is contrary to the sentencing guidelines is a non-

constitutional issue that does not provide a basis for collateral relief in the absence of a

complete miscarriage of justice. See Burke, 152 F.3d at 1331-32 (collecting cases); see

also United States v. Diaz-Clark, 292 F.3d 1310, 1316 n.4 (11th Cir. 2002) (expressing

doubt whether claim concerning sentencing guidelines misapplication would be cognizable

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even if not successive).

        Valdez's arguments concerning a misapplication of the sentencing guidelines are

not cognizable in a section 2255 proceeding. Valdez’s argument is further contradicted by

the record which shows that he did receive the benefit of the safety valve. D-120 at 9; PSR

¶ 22.

        Valdez argues under Ground Four, that his counsel was ineffective for failing to

“raise,” “argue,” or “investigate” his “mitigating role.” D-CV-1 at 4, 8. This role issue was

raised both at sentencing and on direct appeal. Valdez is not entitled to further review of

this claim, because the Eleventh Circuit already has decided it. “[O]nce a matter has been

decided adversely to a defendant on direct appeal, it cannot be re-litigated in a collateral

attack under section 2255.” United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000)

(quoting United States v. Natelli, 553 F.2d 5, 7 (2d Cir. 1977)); see also Olmstead v. United

States, 55 F.3d 316, 319 (7th Cir. 1995) (section 2255 motion is “neither a recapitulation

of nor a substitute” for direct appeal; absent changed circumstances of fact or law, court

will not reconsider an issue already decided on direct appeal).

        On direct appeal, Valdez has already argued that he qualified for a minor role

adjustment to his base offense level under USSG § 3B1.2(b) and under United States v.

DeVaron, 175 F.3d 930 (11th Cir. 1999). Valdez’s brief at 6-7. The Eleventh Circuit

resolved the issue against him. United States v. Valdez, No. 05-14180, 176 Fed. Appx. 20

(11th Cir. Mar.16, 2006); D-142. In its unpublished opinion, the Eleventh Circuit stated:

        At sentencing, Valdez did not object to the factual accuracy of the
        presentence report. The report indicated that Valdez was one of five crew
        members on a boat transporting approximately 2,627 kilograms of cocaine.
        In addition, when the crew encountered the United States Coast Guard, all
        members of the crew discarded numerous bales of cocaine, which were later

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       recovered. Based on these facts, the district court’s finding that Valdez
       played a role similar to others and, therefore, failed to show that he was
       substantially less culpable than other participants in the conspiracy, is not
       clearly erroneous.

Valdez, 176 Fed. Appx. at *21. After the DeVaron analysis, the Eleventh Circuit considered

Valdez’s argument for a role reduction under 18 U.S.C. 3553(a) and found that this Court’s

consideration of the sentencing factors under section 3553(a) reasonable. Valdez, 176 Fed.

Appx. at *21-22.

       Prior resolution bars reconsideration of Valdez’s claim that this Court erred in

denying his request for a downward departure in light of his alleged minor role in the

offense. Generally, claims raised and disposed of in a previous appeal are precluded from

reconsideration in a Section 2255 proceeding. Davis v. United States, 417 U.S. 333 (1974);

United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir. 1981); Mills v. United States, 36

F.3d 1052, 1056 (11th Cir. 1994). Valdez has established no extraordinary circumstance

that would justify reconsideration of this claim. See Schlup v. Delo, 513 U.S. 298 (1995);

Davis v. United States, 417 U.S. 333 (1974). Therefore, this Valdez's claim is procedurally

barred.

                            Ineffective Assistance of Counsel

       Valdez asserts, without support, that he received ineffective assistance of counsel

due to counsel’s failing to argue for the safety valve application and against factors that

increased his sentence (Ground One); to communicate with Valdez concerning the issues

raised on direct appeal (Ground Two); to raise jurisdictional issues concerning his arrest

(Ground Three); and to argue for a mitigating role at sentencing (Ground Four). D-CV-1 at

4-8. These claims are without merit for the reasons discussed below.


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The Sixth Amendment right to counsel is the right to effective assistance of counsel.

McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). The benchmark for judging any

claim of ineffective assistance of counsel, however, is whether counsel’s conduct so

undermined the proper functioning of the adversarial process that the trial cannot be relied

on as having produced a just result. Strickland v. Washington, 466 U.S. 668, 688 (1984);

see also Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1984). The burden is on

the defendant to demonstrate that (1) counsel’s performance fell below an objective

standard of reasonable professional assistance and (2) the defendant was prejudiced by

the deficient performance. United States v. Cronic, 466 U.S. 648, 658 (1984).

       The reasonableness of counsel’s challenged conduct must be judged on the facts

of the particular case, viewed as of the time of counsel’s conduct. Devier v. Zant, 3 F.3d

1445, 1450 (11th Cir. 1993). For performance to be deficient, it must be established that,

in light of all the circumstances, counsel’s performance was outside the wide range of

professional competence. See Strickland, 466 U.S. at 690. Judicial scrutiny of counsel’s

performance must be highly deferential, and courts “must avoid second- guessing counsel’s

performance.” Chandler v. United States, 218 F.3d 1305, 1314 (11th Cir. 2000) (en banc).

“Courts must ‘indulge [the] strong presumption’ that counsel’s performance was reasonable

and that counsel ‘made all significant decisions in the exercise of reasonable professional

judgment.’ ” Id. (quoting Strickland, 466 U.S. at 689). The defendant’s burden in this regard,

though not insurmountable, is a heavy one. See Chandler, 218 F.3d at 1314. For a

petitioner to show deficient performance, he “must establish that no competent counsel

would have taken the action that his counsel did take.” Id. at 1315.

       To establish prejudice, a petitioner must demonstrate a reasonable probability that,

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but for counsel’s deficient performance, the result of his trial would have been different.

United States v. Greer, 440 F.3d 1267, 1272 (11th Cir. 2006). A reasonable probability is

a probability sufficient to undermine confidence in the outcome. Rolling v. Crosby, 438 F.3d

1296, 1300 (11th Cir. 2006). If the defendant fails to show that he was prejudiced by the

alleged errors of counsel, this Court may reject the defendant’s claim without determining

whether the counsel’s performance was deficient. Strickland, 466 U.S. at 697; Tafero v.

Wainwright, 796 F.2d 1314, 1319 (11th Cir. 1986).

Sentencing Determinations--Grounds One and Four

       Valdez argues that his attorney was ineffective for failing to argue for the safety

valve application and against factors that increased his sentence (Ground One) or to argue

for a mitigating role at sentencing (Ground Four). D-CV-1 at 4, 9. Valdez has not alleged

either deficient performance or prejudice. Counsel did object to the PSR and renewed his

role objection at sentencing. See PSR Addendum ¶ 2; D-85; D-120 at 5-8. Valdez did

receive the benefit of the safety valve. Probation determined he qualified for safety valve

adjustment and Valdez’s sentence was at the low end of the applicable guidelines. PSR ¶

22; D-120 at 9. Valdez's counsel raised the role objection of which he now complains, and

this Court appropriately overruled the objection. D-120 at 8. The fact that this Court

overruled counsel's objection does not render him ineffective. Indeed, Valdez has not

established any prejudice because this Court's ruling was reviewed and affirmed on appeal.

       Valdez does not develop his claim regarding what other factor increased his

sentence. Without more, this claim fails to establish a constitutional violation and is

unavailing. Valdez fails to provide any details, facts or legal basis for this claim. His

assertions constitute nothing more than broad conclusory allegations and are insufficient

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to establish ineffective performance and/or resulting prejudice. Claims not fairly raised will

not be entertained on collateral attack. United States v. Jones, 614 F.2d 80 (5th Cir. 1980);

Walker v. Dugger, 860 F.2d 1010, 1011 (11th Cir. 1988) (claims raised only superficially).

While a pro se litigant may be entitled to liberal construction of his arguments, issues

mentioned only superficially will not be treated as properly raised. Walker, 860 F.2d at

1011. Likewise, vague, conclusory, speculative, or unsupported claims cannot support an

ineffective assistance of counsel claim. Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir.

1991).

         Valdez fails to show deficient performance in any of the claims raised in Grounds

One and Four or any resulting prejudice under Strickland. Therefore, these claims do not

warrant relief.

Ground Three--Failing to raise a jurisdictional issue concerning his arrest

         Valdez’s conclusory statement that this Court lacks subject matter jurisdiction under

“domestic” or “international law” is likewise without merit. D-CV-1 at 7. His additional claim

that evidence was not presented concerning this Court’s jurisdiction is factually inaccurate

and contradicted by the admissions he made at the plea colloquy. Moreover, his counsel

did not perform deficiently by failing to litigate that the government or this Court did not

have jurisdiction over the vessel he was in, because this claim lacks merit. Counsel cannot

be deemed to have performed deficiently by failing to address an issue that reasonably

would have been considered to be without merit. See Davis v. Singletary, 119 F.3d 1471,

1476 (11th Cir. 1997); Spaziano v. Singletary, 36 F.3d 1028, 1039 (11th Cir. 1994); Pitts

v. Cook, 923 F.2d 1568, 1572-74 (11th Cir. 1991); Thompson v. Wainwright, 787 F.2d

1447, 1459 n.8 (11th Cir. 1986).

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       The law in this circuit regarding jurisdictional and constitutional challenges to the

 Maritime Drug Law Enforcement Act (MDLEA) has already been resolved and is governed

 by United States v. Tinoco, 304 F.3d 1088, 1096-1102 (11th Cir. 2002). See also United

 States v. Rendon, 354 F.3d 1320, 1326-28 (11th Cir. 2003); United States v. Estupinan,

 453 F.3d 1336 (11th Cir. 2006), cert. denied, 127 S. Ct. 1486 (2007).

       In establishing the elements of the offense, the Court stated:

       I think we’ll now go to the point where I explain the elements and we hearing
       the evidence so I can find out whether there’s going to be any disagreement.

       In the case of Mr. Munoz Valdez, you are charged, remember, with two
       crimes involving cocaine, and the crime in Count 1 is proved when the
       government shows that two or more people somehow came to an agreement
       to try to violate the law. And in this case, in Count 1, the purpose was to
       possess with intent to distribute five kilograms or more of a substance
       containing cocaine.

       Second, the government has to show that you, the defendant, knowing the
       lawful purpose of the plan, willfully joined in that conspiracy on one or more
       occasions.

       Now, in Count 2 you’re not charged with a conspiracy, but you’re charged
       with– along with other individuals possessing with intent to distribute five
       kilograms or more of cocaine or a substance containing cocaine.

       So the government has to show that you were on board a vessel subject to
       the jurisdiction of the United States and that you knowingly and willfully
       possessed cocaine with the intent to distribute it and that the weight of the
       cocaine exceeded five kilograms or more as charged.

       Now, of course, with Count 1, the government also has to show for the
       conspiracy that you were on board a vessel which was subject to the
       jurisdiction of the United States.

       Now, with regard to Count 2, the possession charge, someone can be guilty
       of possessing cocaine with the intent to distribute it if that person acts as an
       aider and abettor, meaning if that person helps someone else in a significant
       way possess that cocaine and that person helps has the intent to violation
       the law.


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        So do you understand what these legal elements are that must be shown?

 D-165 at 22-23. Valdez affirmed he understood. Id. at 23. The United States read the

 factual basis for the offense citing to the Notice of Essential Elements previously filed as

 D-49 as follows:

        On or about November 8th of last year, 2004, the defendant, along with the
        other four individuals charged in the instant indictment, were on board a go-
        fast vessel, that is, a vessel that was without nationality or registration and,
        therefore, subject to the jurisdiction of the United States, in the international
        waters in the Caribbean basin.

        During that time period the United States Coast Guard observed the
        defendant and the–his co-defendants discarding numerous bales of what was
        later determined to be cocaine from the go-fast vessel while it was transiting
        in international waters.

        The Coast Guard apprehended the vessel, recovered over 2,600 kilograms
        of cocaine, or slightly less than three tons, and detained the crew.

        They were brought, including the defendant–the defendant and his
        codefendants were brought to the Middle District of Florida where they first
        entered the United States.

        THE COURT: Okay. And the guilty knowledge element for this defendant?

        MR. RUDDY: Your Honor, the defendant was–as indicated, on board the go-
        fast vessel was observed discarding the–discarding the contraband upon
        being observed by the United States Coast Guard.

        THE COURT: Okay. So all of the crew members did that?

        MR. RUDDY: Yes, ma’am.

 Id. at 24-25. The Court asked Valdez if he heard the facts the United States had just stated,

 whether Valdez disagreed with the facts, and if they were true. Id. at 25. Valdez

 affirmatively responded to the inquiries and did not state an objection. Id. The Court

 advised Valdez that each count of conviction carries a mandatory minimum sentence of ten

 years to life imprisonment. Id. at 35. Again, Valdez said that he understood the mandatory

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 minimum, that he understood that the sentencing guidelines would be used to calculate his

 sentence, that he could not later withdraw his plea, that the Court could upwardly depart,

 and his appeal rights. Id. at 35, 37-39. In particular, the Court advised Valdez:

        [B]y pleading guilty–if you have any defense to the charge or objection as to
        how the evidence against you was obtained, by pleading guilty you’re giving
        up your right to make these defenses and objections. Do you understand
        that, sir?

 Id. at 39. Again, Valdez indicated he understood. Id. After which the Court found the plea

 to be knowing and voluntary. Id. at 40.

        Valdez makes no claim that he ever spoke to his attorney about raising a

 jurisdictional challenge either in the district court or on appeal. The bare bones allegation

 he now raises concerning the application of federal and international law is without merit.

 Valdez is barred from raising a challenge to the factual basis of his plea in a section 2255

 motion. Wilson v. United States, 962 F.2d 996, 997 (11th Cir. 1992). The record shows that

 Valdez agreed, under oath, with the statement of the facts as presented by the United

 States, including the fact that the United States had jurisdiction over the him. D-165 at 24-

 25. Moreover, the Eleventh Circuit has already resolved the jurisdictional and constitutional

 challenges to the Maritime Drug Law Enforcement Act (MDLEA) by Tinoco, 304 F.3d at

 1096-1102. See also, Rendon, 354 F.3d at 1326-28; Estupinan, 453 F.3d 1336.

        The record clearly shows that Valdez’s plea was knowing and voluntary and the

 jurisdictional basis of the indictment was explained to him as part of the plea process.

 Nothing in the record establishes that counsel failed to meet his obligations as applied to

 the plea and appellate process, and Valdez fails to show any deficient performance in this

 ground or any resulting prejudice. Thus, Valdez’s claim under Ground Three fails to meet


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 the Strickland standard and does not warrant relief.

 Appellate Issues–Ground Two

        Valdez claims counsel failed to “communicate” with him or “provide notice”

 concerning the issues raised in his appeal. D-CV-1 at 5. Valdez contends that his counsel

 failed to communicate with him when he was preparing Valdez's brief on appeal, but he

 fails to identify any specific deficiencies in the brief that his counsel filed on his behalf on

 appeal. This claim is facially insufficient to merit relief. See Rule 2(b) of the Rules

 Governing Section 2255 Proceedings for the United States District Courts; see also, Clark

 v. United States, No. 4:04-cv-52, 2006 WL 3511148 at *11 (E.D. Tenn. 2006). Valdez has

 not alleged any other ground that counsel should have raised on appeal, nor has he

 established that any other ground would have been meritorious. In addition, those issues

 preserved for appeal appear to have raised. Consequently, Valdez has not shown deficient

 performance on the part of counsel or that he sustained prejudice. This claim, too, does not

 warrant relief.

        Based on his motion and the record now before this Court, Valdez has not

 established any entitlement to relief based on ineffective assistance of counsel. Throughout

 his motion, Valdez has failed to show any deficient performance by his counsel or any

 resulting prejudice under Strickland.

        Accordingly, the Court orders:

        That Valdez's motion to vacate (D-CV-1, D-161) is denied. The Clerk is directed to

 enter judgment against Valdez in the civil case and to close that case.

                       CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED


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        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c)(2). To make such a showing, Defendant “must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

 proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

 Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

 these circumstances.

        Finally, because Defendant is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

        ORDERED at Tampa, Florida, on September 10, 2007.




 AUSA: James C. Preston, Jr.
 Francisco Munoz Valdez




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